Case 2:22-cv-14102-DMM Document 39 Entered on FLSD Docket 04/15/2022 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                      Case No. 22-14102-CV-MIDDLEBROOKS/REINHART

  DONALD J. TRUMP,
                  Plaintiff(s)

  vs.

  HILARY R. CLINTON, et al.,
                  Defendant(s)

  _____________________________________________/

                  ORDER REFERRING CASE AND SETTING TRIAL DATE

         PLEASE TAKE NOTICE that the above-entitled cause is hereby set for Trial before the

  Honorable Donald M. Middlebrooks, United States District Judge, at the United States

  Courthouse, Courtroom 4008, 101 South U.S. Highway One, Fort Pierce, Florida, during the two-

  week trial period commencing May 8, 2023 at 9:00 a.m., or as soon thereafter as the case may

  be called.   PLEASE TAKE FURTHER NOTICE that a Calendar Call will be held on

  Wednesday, May 3, 2023 at 1:15 p.m. at 701 Clematis Street, Second Floor, Courtroom 7,

  West Palm Beach, Florida. ALL COUNSEL MUST BE PRESENT.

         JURY TRIALS. On or before the date of the Status Conference, counsel shall submit

  proposed jury instructions with the substantive charges and defenses, verdict forms, and motions

  in limine, if any. Jury instructions shall be filed on the docket and a copy shall be submitted in

  Word format directly to middlebrooks@flsd.uscourts.gov. To the extent these instructions are

  based upon the Eleventh Circuit Pattern Jury Instructions, counsel shall indicate the appropriate

  Eleventh Circuit Pattern Jury Instruction upon which their instruction is modeled. All other

  instructions shall include citations to relevant supporting case law. The Eleventh Circuit Pattern

  Jury Instructions Builder is available at http://pji.ca11.uscourts.gov.
Case 2:22-cv-14102-DMM Document 39 Entered on FLSD Docket 04/15/2022 Page 2 of 4



           At jury selection, the Court will conduct voir dire. The Parties may, but are not required

  to, submit voir dire questions to the Court. After the Court questions the jury venire, the Parties

  will each have a limited amount of time, to be determined at Calendar Call, to question the jury

  venire. After the Court determines which members of the jury venire should be dismissed for

  cause, each side will be allowed three peremptory challenges, with no backstriking. As soon as

  the jury is selected, the jury will be sworn, preliminary instructions will be given, and the case will

  begin with opening statements.

           Side bars are not generally permitted. The Parties shall raise any anticipated issues prior

  to trial or during a break, outside the presence of the jury. Should the Court need to address an

  issue, the jury likely will be excused for a break.

           BENCH TRIALS. In cases tried before the Court, each party shall file at least ONE

  WEEK prior to the beginning of the trial calendar, the proposed Findings of Fact and Conclusions

  of Law. An additional copy shall be sent in Word format to the chambers e-mail account listed

  above.

           EXHIBITS. Prior to any trial, counsel shall submit to the Court a typed list of proposed

  witnesses and/or exhibits. All exhibits must be pre-labeled in accordance with the proposed

  exhibit list. Exhibit labels must include the case number. At least two-weeks before trial, the

  parties shall file their deposition designations along with objections in the event there are any.

           The Parties exhibit list should be prepared using the Administrative Office’s form 187

  (AO-187). The Parties are responsible for complying with the Southern District of Florida’s

  Administrative Order 2016-70, which was entered on November 22, 2016, concerning the

  electronic submission of admitted exhibits.1 It is further


  1
    Note that any exhibits admitted during a hearing are also required to be filed electronically on
  the docket after the hearing. See Administrative Order 2016-70.
Case 2:22-cv-14102-DMM Document 39 Entered on FLSD Docket 04/15/2022 Page 3 of 4



         ORDERED AND ADJUDGED, pursuant to 28 U.S.C. ' 636 (b)(1)(A) and the Magistrate

  Judge Rules of the Local Rules of the Southern District of Florida, the above-captioned cause is

  hereby referred to United States Magistrate Bruce E. Reinhart to conduct a Scheduling

  Conference, pursuant to Local Rule 16.1.B, for the purpose of setting pre-trial deadline dates, for

  determining possible consent to the jurisdiction of the Magistrate Judge for trial, and for the

  purpose of setting any settlement conferences in lieu of or in addition to mediation if the parties

  so request. Judge Reinhart shall retain jurisdiction to resolve any disputes arising from the

  aforementioned proceeding(s). All counsel of record will be required to attend this conference

  which will be noticed by Magistrate Judge Reinhart. Copies of any and all filings related to such

  scheduling conference, including proposed orders, must be sent directly to Judge Reinhart at

  reinhart@flsd.uscourts.gov.

         Further, any request to modify the above-set trial date must be made prior to the

  Scheduling Conference. The foregoing does not preclude consideration of a prompt motion

  to modify the trial date for good cause shown by a party joined in the litigation after the

  Scheduling Conference has occurred.

         The parties are directed, in accordance with CM/ECF procedures, as follows:

         COURTESY COPIES: Notwithstanding the implementation of CM/ECF, all parties

  shall deliver a courtesy copy to the Intake Section of the Clerk=s Office all motions exceeding

  twenty-five pages. This copy shall be bound and any attachments and/or appendices must be

  indexed with tabs.

         PROPOSED ORDERS: Pursuant to the CM/ECF Administrative Procedures, counsel

  shall send proposed orders in Word format for ALL motions directly to
Case 2:22-cv-14102-DMM Document 39 Entered on FLSD Docket 04/15/2022 Page 4 of 4



  middlebrooks@flsd.uscourts.gov.2

         DONE AND ORDERED, in Chambers, at West Palm Beach, Florida, this 15th day of

  April, 2022.




                                                         Donald M. Middlebrooks
                                                         United States District Judge

  cc:    Honorable Bruce E. Reinhart
         All Counsel of Record




         2  This does not apply to orders relating to Judge Reinhart’s scheduling conference
  discussed above.
